
649 S.E.2d 640 (2007)
STATE of North Carolina
v.
Jonathan MILLER.
No. 255A07.
Supreme Court of North Carolina.
June 27, 2007.
Jonathan Miller, for Miller.
Alvin W. Keller, Jr., Assistant Attorney General, Peter S. Gilchrist, III, District Attorney, for State of NC.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by Defendant on the 29th day of May 2007 in this matter pursuant to G.S. 7A-30 (substantial constitutional question), the following order was entered and is hereby certified to the North Carolina Court of Appeals: the notice of appeal is
"Dismissed ex mero motu by order of the Court in conference, this the 27th day of June 2007."
